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                                   8                                 UNITED STATES DISTRICT COURT

                                   9                                NORTHERN DISTRICT OF CALIFORNIA

                                  10                                        San Francisco Division

                                  11     DANE ZEEN,                                       Case No. 17-cv-02056-LB
                                  12                   Plaintiff,
Northern District of California
 United States District Court




                                                                                          VERDICT FORM
                                  13             v.

                                  14     COUNTY OF SONOMA, et al.,
                                  15                   Defendants.

                                  16

                                  17   Claim of Excessive Force (42 U.S.C. § 1983 and Fourth Amendment)

                                  18   1. Did Michael Yoder use excessive force against Dane Zeen in violation of the Fourth
                                          Amendment to the U.S. Constitution?
                                  19

                                  20          Yes: _______________          No: _______________

                                  21      If the answer to question 1 is yes, then answer question 2. If your answer is no, you have
                                          reached a verdict in favor of the defendant, and you must stop here, answer no further
                                  22      questions, and have the presiding juror sign and date this form.
                                  23

                                  24   Damages

                                  25   2. State the amount of Dane Zeen’s damages, if any.

                                  26          $ _______________
                                  27      Proceed to question 3.
                                  28

                                       VERDICT FORM – No. 17-cv-02056-LB
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                                   1   3. If you answered yes to question 1, did Michael Yoder act with malice or oppression or in
                                          reckless disregard to the rights of Dane Zeen?
                                   2

                                   3            Yes: _______________        No: _______________

                                   4      If your answer to question 3 is yes, then answer question 4. If your answer is no, stop here,
                                          answer no further questions, and have the presiding juror sign and date this form.
                                   5

                                   6   4. What amount, if any, do you award as punitive damages?

                                   7            $ _______________

                                   8      Please have the presiding juror sign and date the form.

                                   9   Signed:                                                      (Presiding Juror)
                                  10   Dated:
                                  11

                                  12
Northern District of California
 United States District Court




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                                       VERDICT FORM – No. 17-cv-02056-LB                2
